     Case 2:12-cr-00004-APG-EJY       Document 266          Filed 12/14/12   Page 1 of 2




1

2

3

4

5                                UNITED STATES DISTRICT COURT
6                                       DISTRICT OF NEVADA
7                                                  ***
8      UNITED STATES OF AMERICA,                         Case No. 2:12-cr-00004-MMD-GWF
9                                          Plaintiff,                    ORDER
10            v.
11     ALEXANDER KOSTYUKOV,
12                                      Defendant.
13

14            United States Magistrate Judge George Foley, Jr. denied Defendant Alexander

15     Kostyukov’s Motion to Dismiss Counsel (“Motion”) (dkt. no. 231) following a hearing

16     held on October 18, 2012. Defendant filed a notice of appeal of that decision with the

17     Ninth Circuit Court of Appeals. (Dkt. no. 239.) The Ninth Circuit dismissed the appeal

18     for lack of jurisdiction. (Dkt. no. 246.) Defendant’s notice of appeal was then brought to

19     the Court’s attention.1   (Dkt. no. 259.)        The Court affirms the Magistrate Judge’s

20     decision.

21            Local Rule IB 1-9 vests a magistrate judge with authority to appoint counsel.

22     Accordingly, the Court will review the Magistrate Judge’s decision to deny Defendant’s

23     Motion seeking to dismiss counsel under a “clearly erroneous or contrary to law”

24     standard. 28 U.S.C. § 636(b)(1)(A); L.R. IB 3-1(a). “A finding is clearly erroneous when

25     although there is evidence to support it, the reviewing body on the entire evidence is left

26

27            1
               Local Rule IB 3-1 prescribes the procedures for a party who wishes to object to
       the ruling of a magistrate judge. While Defendant did not follow these procedures, the
28     Court will nevertheless construe Defendant’s notice of appeal as an objection.
     Case 2:12-cr-00004-APG-EJY       Document 266      Filed 12/14/12    Page 2 of 2




1      with the definite and firm conviction that a mistake has been committed.” United States

2      v. Ressam, 593 F.3d 1095, 1118 (9th Cir. 2010) (quotation omitted).

3            The Court has reviewed Defendant’s Motion and the transcript of the hearing

4      before the Magistrate Judge on Defendant’s Motion.        Counsel for Defendant made

5      representations to the court about the complex electronic discovery which does not lend

6      for easy sharing of information with Defendant, who is detained pending trial, and his

7      efforts to communicate with Defendant. Counsel also represented that he holds no

8      biases or prejudices against Defendant.      The Magistrate Judge accepted counsel’s

9      representation as an officer of the court. The Court determines that the Magistrate

10     Judge’s decision is not clearly erroneous or contrary to law. The Court further finds that

11     even if the standard of review is de novo, good cause exists to affirm the Magistrate

12     Judge’s decision.

13           IT IS THEREFORE ORDERED that Defendant’s objection to the Magistrate

14     Judge’s order denying Defendant’s Motion to Dismiss is DENIED. The Court affirms the

15     Magistrate Judge’s order denying Defendant’s Motion.

16

17           DATED THIS 14th day of December 2012.

18

19                                              MIRANDA M. DU
                                                UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25
26

27

28
